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                                                                U.S. Department of Justice

                                                                United States Attorney
                                                                Southern District of New York


                                                                300 Quarropas Street
                                                                White Plains, New York 10601


                                                                July 18, 2022
BY ECF
Honorable Cathy Seibel
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4150

                  Re:      Virgil v. Finn, et al., 22 Civ. 3169 (CS)

Dear Judge Seibel:

        The Government respectfully requests a pre-motion conference to address the
Government’s requests: (1) to intervene in the above-referenced matter (the “Civil Action”) for
the limited purpose of seeking a stay of the Civil Action until sentencing for defendant Aaron Finn
(“Finn”) in a related criminal case, United States v. Aaron Finn, 21 Cr. 650 (NSR) (the “Criminal
Case”), and (2) its corresponding request for such a stay.1 Sentencing is scheduled for October 20,
2022. The Government has conferred with Plaintiff’s counsel and the New York Attorney
General’s Office (“OAG”) and learned that the OAG has received requests for representation
pursuant to Public Officers Law Section 17 (“POL § 17”) from State defendant employees Finn,
Alexander Costantini, and Philip Langdon, but does not yet represent any State defendant
employee in the Civil Action. The OAG advised the Government: “The OAG provides consent to
the USAO’s stay on behalf of Finn, Costantini, and Langdon because doing so is consistent with
the OAG’s obligations under POL § 17(2)(c) to take necessary steps on behalf of the employees
pending resolution of any question pertaining to the obligation to provide for a defense.” Plaintiff,
however, through counsel, opposes the Government’s request.

        Background. In November 2021, a superseding indictment was unsealed, charging that,
on or about March 19, 2020, defendant Finn, while a correction officer at the Green Haven
Correctional Facility, deprived an inmate in the custody of the State of New York of the right to
be free from excessive force amounting to cruel and unusual punishment by striking and thrashing
that inmate, who was restrained in handcuffs at the time. See 21 Cr. 650 (NSR), Dkt. No. 4.

        On or about April 18, 2022, plaintiff Melvin L. Virgil (“Plaintiff”) filed this civil lawsuit
against Finn, Alexander J. Costantini, “P. Langdon,” and eight John Does. See Dkt. No. 1. Among
other allegations, the complaint asserts that, on March 19, 2020, Finn assaulted Plaintiff while he
was an inmate housed at the Green Haven Correctional Facility. See id.
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  The Government reserves the right, as appropriate, to seek a further stay if the criminal case is not completely
resolved by, or soon after, sentencing.
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        On July 12, 2022, Finn pleaded guilty to the one-count superseding indictment in the
Criminal Case before the Honorable Judith C. McCarthy. See Minute Entry, 61 Cr. 650 (NSR)
(July 12, 2022). Sentencing is scheduled for October 20, 2022. See id.

        The Court Should Stay the Civil Action Until Finn is Sentenced. The Government
respectfully submits that a stay of the Civil Action for the limited duration of the remainder of the
Criminal Case will serve the public interest, conserve private, public, and judicial resources, and
will only minimally prejudice the parties in the Civil Action, if at all.

         This Court has the inherent power to stay civil cases in the interests of justice pending the
completion of a criminal investigation and any subsequent proceedings. See Landis v. North Am.
Co., 299 U.S. 248, 255 (1936); Kashi v. Gratsos, 790 F.2d 1050, 1057 (2d Cir. 1986). Courts
frequently grant applications by the Government to stay parallel civil proceedings to protect a
pending criminal case. See, e.g., In re Worldcom, Inc. Sec. Litig., No. 02 Civ. 3288 (DLC), 2002
WL 31729501, at *11 (S.D.N.Y. Dec. 5, 2002) (granting requests concerning stays of discovery
for: (i) a defendant who pleaded guilty but was not yet sentenced; and (ii) individuals who were
cooperating witnesses); United States v. Goyal, 19 Civ. 10832 (KMK) (Feb. 5, 2020), Dkt. No. 8
(granting the Government’s request to stay a civil proceeding until the conclusion of a parallel
criminal case “given that Defendants consent”).

        When considering whether to grant a stay, courts balance the following factors: (1) the
extent to which the issues in the criminal case overlap with those presented in the civil case; (2)
the status of the case, including whether the defendants have been indicted; (3) the private
interests of the plaintiffs in proceeding expeditiously weighed against the prejudice to plaintiffs
caused by the delay; (4) the private interests of and burden on the defendants; (5) the interest of
the court; and (6) the public interest. SEC v. Treadway, No. 04 Civ. 3464 (VM) (JCF), 2005 WL
713826, at *2-3 (S.D.N.Y. March 30, 2005) (quoting In re Worldcom, Inc. Sec. Litig., 2002 WL
31729501, at *4); see also Volmar Distrib., Inc. v. New York Post Co., Inc., 152 F.R.D. 36, 39
(S.D.N.Y. 1993) (listing similar factors). “Balancing these factors is a case-by-case
determination.” Volmar Distrib., 152 F.R.D. at 39 (S.D.N.Y. 1993) (staying civil discovery until
the “resolution” of a related criminal case).

        With respect to the first factor, the identity of issues underlying the Civil Action and the
Criminal Case weighs heavily in favor of a stay. “Courts have consistently recognized” that the
overlap of the issues in the criminal and civil cases is “a particularly significant factor.” SEC v.
Shkreli, No. 15 Civ. 7175 (KAM) (RML), 2016 WL 1122029, at *4 (E.D.N.Y. Mar. 22, 2016)
(citation and quotation marks omitted); United States v. One 1964 Cadillac Coupe DeVille, 41
F.R.D. 352, 353 (S.D.N.Y. 1966) (“Where both civil and criminal proceedings arise out of the
same or related transactions the government is ordinarily entitled to a stay of all discovery in the
civil case until disposition of the criminal matter.”). Here, the Civil Action concerns, in large part,
the same alleged excessive force used by Finn that is described in the superseding indictment.
Thus, the cases involve much of the same facts and issues.

       With respect to the second factor, “the weight of authority in this Circuit indicates that
courts will stay a civil proceeding when the criminal investigation has ripened into an indictment.”
In re Par Pharm, Inc. Sec. Litig., 133 F.R.D. 12, 13 (S.D.N.Y. 1990). Here, not only has an
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indictment has been returned against Finn, but the Government has produced discovery, and
negotiated a plea agreement, and Finn has pleaded guilty.

        There is also very little, if any, prejudice to the parties that would result from a stay.
Individuals named as defendants in parallel criminal cases typically have an interest in not being
deposed because if they assert their Fifth Amendment privilege, an adverse inference may be
drawn against them in the civil case. See Baxter v. Palmigiano, 425 U.S. 308, 318 (1976) (noting
that Fifth Amendment does not forbid adverse inferences against parties to civil actions). Although
Finn has pleaded guilty in the Criminal Case, “the right against self-incrimination ordinarily
survives until sentencing.” In re Worldcom, Inc. Sec. Litig., 2002 WL 31729501, at *7 (citing
Mitchell v. United States, 526 U.S. 314, 325-26 (1999)). Further, in light of Finn’s guilty plea, “the
uncertainty as to when the criminal proceedings will conclude . . . [and] as to his sentencing date
is of minimal concern.” Id. at *8.

        The Government and the public also have important interests that would be served by a
stay. The Government, for example, has an interest in ensuring that sentencing proceeds in an
orderly fashion. Further, in the absence of a stay, individuals cooperating with the Government
may have to file pleadings or respond to discovery requests in the Civil Action. See In re
Worldcom, Inc. Sec. Litig., 2002 WL 31729501, at *9 (“The U.S. Attorney has a significant interest
in preserving the usefulness of cooperating defendants as Government witnesses”). In addition,
the Government understands the OAG will gather and evaluate facts before it determines whether
to provide representation to defendants in the Civil Action or respond to the complaint on the
defendants’ behalf. The Government is concerned that having another entity in a defensive posture
investigating the same conduct could negatively impact the Criminal Case. Further, developments
in the Criminal Case could impact the OAG’s decision-making with regard to representing
defendants and responding to the complaint.

         As to the interest of the Court, allowing resolution of the Criminal Case ahead of the Civil
Action may result in a narrowing of the factual and legal issues before this Court. See Volmar
Dist., Inc., 152 F.R.D. at 40. It may also “promote settlement of civil litigation not only by that
defendant but also by co-defendants who do not face criminal charges,” In re Worldcom, Inc. Sec.
Litig., 2002 WL 31729501, at *8, and can “streamline later civil discovery since transcripts from
the criminal case will be available to the civil parties,” Rosenthal v. Giuliani, No. 98 Civ. 8408
(SWK), 2001 WL 121944, at *2 (S.D.N.Y. Feb. 9, 2001). Accordingly, the interests of judicial
economy are better served by the requested stay.

        Additionally, the Government is not aware of any third parties that would be harmed by a
stay. Finally, any stay would be no longer than necessary to accommodate the interests of the
criminal process. At this time, the Government seeks a stay until sentencing, presently scheduled
for October 20, 2022.

       We thank the Court for considering this application.
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                                         Respectfully submitted,

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cc:   Counsel of record (by ECF)
